                     UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN RE:                                                    Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                                    Chapter 11
                          Debtor.                         Honorable Mark A. Randon


                 ORDER SUSTAINING PREVIOUSLY ADJOURNED
                           CLAIM OBJECTIONS

         Upon the previously adjourned claim objections (the “Adjourned

Objections”) of the HFV Liquidating Trust (the “Trust”), for entry of an order

(this “Order”), disallowing and/or modifying the Claims as set forth in Exhibit A

attached hereto, and as more fully set forth in the Trust’s First Omnibus Claim

Objection, Second Omnibus Claim Objection, and Third Omnibus Claim Objection

(collectively, the “Omnibus Claims Objections”)1; and this Court having jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and that this Court may

enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Omnibus Claims


1
    “First Omnibus Claim Objection” means the First Omnibus Objection of the HFV Liquidating Trust to (A)
    Amended or Superseded Claims, (B) Duplicate Claims, and (C) Certain No Liability Claims [Docket. No. 779].

    “Second Omnibus Claim Objection” means the Second Omnibus Objection of the HFV Liquidating Trust to (A)
    No Liability Claims, (B) Satisfied Claims, and (C) Claims to be Modified [Docket No. 791]

    “Third Omnibus Claim Objection” means the Third Omnibus Objection of the HFV Liquidating Trust to (A)
    Amended or Superseded Claims, (B) Duplicate Claims, (C) No Liability Claims, and (D) Claims to be Modified
    [Docket No. 795]


157849358.1
    20-51066-mar       Doc 881      Filed 08/05/22       Entered 08/05/22 17:00:15           Page 1 of 5
Objections in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this

Court having found that the relief requested in the Omnibus Claims Objections with

respect to the Adjourned Objections is in the best interests of the Trust, its creditors,

and other parties in interest; and this Court having found that the Trust’s notice of

the Omnibus Claims Objections and opportunity for a hearing on the Omnibus

Claims Objections was appropriate under the circumstances and no other notice need

be provided; and this Court having reviewed the Omnibus Claims Objections with

respect to the Adjourned Objections, the responses thereto, and having heard the

statements in support of the relief requested in the Omnibus Claims Objections at a

hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Omnibus Claims Objection establish just cause

for the relief granted herein; and upon all of the proceedings held before this Court;

and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

         1.   The Omnibus Claims Objections are sustained with respect to the

Adjourned Objections as set forth herein.

         2.   Any and all responses to the Omnibus Claims Objection that have not

been withdrawn or resolved are hereby overruled.

         3.   The Duplicate Claim set forth in Exhibit A is hereby disallowed and

expunged in its entirety.



157849358.1
  20-51066-mar    Doc 881    Filed 08/05/22   Entered 08/05/22 17:00:15    Page 2 of 5
         4.   The Satisfied Claim set forth in Exhibit A is disallowed and expunged

in its entirety.

         5.   The No Liability Claims set forth in Exhibit A are disallowed and

expunged in their entirety.

         6.   The Modified Claim set forth in Exhibit A is hereby modified as set

forth on Exhibit A. The Modified Claim will remain on the claims register

maintained by the Trust (the “Claims Register”) and such Claims and remain subject

to future objection on any basis.

         7.   Each objection by the Trust to each Claim addressed in the Omnibus

Claim Objections constitutes a separate contested matter as contemplated by

Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to

each Claim. Any stay of this Order pending appeal by any claimant subject to this

Order shall only apply to the contested matter that involves such claimant and shall

not act to stay the applicability or finality of this Order with respect to the other

contested matters covered hereby.

         8.   The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

         9.   Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.




157849358.1
  20-51066-mar     Doc 881    Filed 08/05/22   Entered 08/05/22 17:00:15   Page 3 of 5
         10.   Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Omnibus Claim Objections; (e) a

request or authorization to assume any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s rights

under the Bankruptcy Code or any other applicable law. Any payment made

pursuant to this Order should not be construed as an admission as to the validity,

priority, or amount of any particular claim or a waiver of the Trust’s right to

subsequently dispute such claim.

         11.   The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Omnibus Claim Objections.

         12.   This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.




157849358.1
  20-51066-mar     Doc 881   Filed 08/05/22   Entered 08/05/22 17:00:15   Page 4 of 5
                                                           Exhibit A

              Claimant Name            Claim Number /   Omnibus Objection             Schedule                       Treatment
                                          Schedule
                                           Number
 Michigan Department of Health and                                                                         Objection Sustained — Claim
                                            346                    1            2 - Duplicate Claims       Disallowed/Expunged
 Human Services
 Michigan Department of Health and                                                                         Objection Sustained — Claim
                                            348                    2            2 - Satisfied Claims       Disallowed/Expunged
 Human Services
 Auto-Owner’s Insurance Company             210                    1            3 - No Liability Claim     Objection Sustained — Claim
                                                                                                           Disallowed/Expunged
 Brian Fischer                              211                    1            3 - No Liability Claim     Objection Sustained — Claim
                                                                                                           Disallowed/Expunged
 Marjorie E. Swiecki, Trustee of the        407                    3            4 - Claims to Modified     Objection Sustained — Claim
 Marjorie E. Swiecki Trust                                                                                 Modified

                                                                                                           Claim 407 shall be reduced and
                                                                                                           modified to reflect a
                                                                                                           nonpriority claim in the amount
                                                                                                           of $46,015.00 as recorded in
                                                                                                           the amount shown on the
                                                                                                           Debtor’s books and records.




Signed on August 5, 2022




157849358.1
                     20-51066-mar      Doc 881    Filed 08/05/22       Entered 08/05/22 17:00:15         Page 5 of 5
